                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN

In The Matter of:                                              Chapter 7
                                                               19-43761-PJS
Alexandra Lynn Lienhart                                        Judge Shefferly

Debtor(s)
_________________________/


     ORDER GRANTING RELIEF FROM AUTOMATIC STAY & WAIVING THE
      PROVISIONS OF F.R.B.P.4001(a)(3) AS TO MICHIGAN STATE HOUSING
             DEVELOPMENT AUTHORITY C/O LOANCARE, LLC


        This matter having come before this Court on the Motion of MICHIGAN STATE
HOUSING DEVELOPMENT AUTHORITY C/O LOANCARE, LLC (“Creditor”), by and
through its attorneys, Schneiderman & Sherman, P.C., for relief from the Automatic Stay; all
parties to said Motion having been served with a copy of Creditor’s Motion and proposed Order:

       IT IS HEREBY ORDERED that the Automatic Stay is terminated to allow Creditor, its
successors or assigns to foreclose on the property known as 1513 WARREN AVE, JACKSON
MI 49203, for the reasons set forth in Creditor’s Motion; that Creditor is permitted to dispose of
the property in accordance with the terms of its note and security agreement and in accordance
with federal and state law; that F.R.B.P.4001(a)(3), is waived; that this order shall be served on
the Chapter 7 Trustee and all others with an interest in the subject property. This order shall be
binding and effective despite any conversion of this bankruptcy case to a case under any other
chapter of Title 11 of the United States Bankruptcy Code.

        IT IS FURTHER ORDERED that Creditor may send to any party or parties protected by
the automatic stay any and all notices required by applicable state and/or federal law or
regulation and to take such actions with respect to the Property as are provided for under
applicable non bankruptcy law, including but not limited to, informing Debtor(s) of any loan
modification, short sale, or other loss mitigation options.

Signed on June 11, 2019




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